                 Case 1:23-cv-08430-JMF Document 1-2 Filed 11/04/22 Page 1 of 38
                                                   State of Louisiana
                                                   Secretary of State

                                                                                                  Legal Services Section
                                                            10/06/2022                 P.O. Box 94125, Baton Rouge, LA 70804-9125
                                                                                                       (225) 922-0415




   MT. HAWLEY INSURANCE COMPANY
   MR. DANIEL O. KENNEDY
   9025 NORTH LINDBERGH DRIVE
   PEORIA, IL 61615


                                                                                          2022
   Suit No.: 832398
   24TH JUDICIAL DISTRICT COURT
   JEFFERSON PARISH

   NAZ, LLC, ET AL
   vs
   MT HAWLEY INSURANCE COMPANY, ET AL



   Dear Sir/Madam:

   I am enclosing a citation served in regard to the above entitled proceeding. If you are not the intended recipient of
   this document, please return it to the above address with a letter of explanation. All other questions regarding this
   document should be addressed to the attorney that filed this proceeding.




                                                                                   Yours very truly,

                                                                                   R. KYLE ARDOIN
                                                                                   Secretary of State




Served on: R. KYLE ARDOIN                                            Date: 10/05/2022
Served by: J SHOWS                                                   Title: DEPUTY SHERIFF




                                                                                                  ■■■■
                                                                                                 No:1254584


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                                                                                                         Exhibit B
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                                            Document        COPY]
                                                      1-2 Filed 11/04/22 Page 2 of 38
                                                                                           amiiiiwin
      (101) CITATION: PETITION FOR DAMAGES; REQUEST FOR WRITTEN
     NOTICE/EXHIBIT STANDING CASE MANAGEMENT ORDER REGARDING
     CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE
     IDA/EXHIBIT STANDING ORDER FOR DISASTER DISCOVERY
     PROTOCOLS IN CERTAIN PROPERTY DAMAGES SUITS ARISING FROM
                                                                                                       220928-4143-0
     HURRICANE IDA/EXHIBIT INTERIM PROTECTIVE ORDER REGARDING
     CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE IDA

                                                 24TH JUDICIAL DISTRICT COURT
                                                     PARISH OF JEFFERSON
                                                      STATE OF LOUISIANA

     NAZ LLC AND SHAMSNIA NEUROLOGY LLC
       versus                                                                      Case: 832-398     Div: "E"
     MT HAWLEY INSURANCE COMPANY, A DIVISION OF                                    P 1 NAZ LLC
     RLI AND HSB SPECIALTY INSURANCE COMPANY

     To: MT HAWLEY INSURANCE COMPANY
    SHRU SECRETARY OF STATE                                                        SOS CK# 10633 S100 O^.SrAR^rxr
    P585 ARCHIVES AVENUE                                                            nn     ix-Li   a r\
                                                                                   EBR CK# 10634 $80.88
                                                                                                                          IN
    B.ATON ROUGE LA 70809
                                                                                                            OCT 05 2022
    PARISH OF JEFFERSON


    You are hereby summoned to comply with the demand contained in the PETITION FOR
    DAMAGES of which a true and correct copy accompanies this citation, or make an
    appearance either by filing a pleading or otherwise, in the 24th Judicial District Court in and for
    the Parish of Jefferson, State of Louisiana, within TWENTY ONE (21) CALENDAR days after
    the service hereof, under penalty of default.


    This service was requested by attorney ROBERT G. HARVEY SR and was issued by the
    Clerk of Court on the 28th day of September, 2022.


                                                      /s/ Marilyn Guidry
                                                      Marilyn Guidry, Deputy Clerk of Court for
                                                      Jon A. Gegenheimer, Clerk of Court



                                                                                                                       SERVICE IN

     (101) CITATION: PETITION FOR DAMAGES; REQUEST FOR WRITTEN
    NOTICE/EXHIBIT STANDING CASE MANAGEMENT ORDER REGARDING
    CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE
    IDA/EXHIBIT STANDING ORDER FOR DISASTER DISCOVERY                                                 220928-4143-0
    PROTOCOLS IN CERTAIN PROPERTY DAMAGES SUITS ARISING FROM
    HURRICANE IDA/EXHIBIT INTERIM PROTECTIVE ORDER REGARDING
    CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE IDA
 Received:                  Served:                     Returned:

 Service was made:
              Personal                           Domicilary

 Unable to serve:
               Not at this address              Numerous attempts          times
               Vacant                         _ Received too late to serve
               Moved                            No longer works at this address
               No such address                  Need apartment / building number
               Other

 Service: S                    Mileage: S.                     Total: $

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                             Deputy Sheriff
 Parish of:




r
                                 Thomas F. Donelon Courthouse ; 200 Derbigny St. : Gretna LA 70053
 *Page 1 of 1
                        Case 1:23-cv-08430-JMF Document 1-2 Filed 11/04/22 Page 3 of 38



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                                                                              •
                                                                     I'CKhalle 5. Brunet. DYCLEFl.li:
                           24th JUDICIAL DISTRICT COURT FOR THE PARISH oFjEFFERS^3^


                                                      STATE OF LOUISIANA

                           no. ^3^ • 3^^                                                       DIVISION:

                                        NAZ, LLC and SHAMSNIA NEUROLOGY, LLC
   Plied ay-: F
   Date
                                                              VERSUS
   Time. —        cJ^cjA^okwLEY INSURANCE COMPANY, a division of
   DePU(lSEF attache^TW1^HSB SPECIALTY INSURANCE COMPANY

                 FILED:
                                                                               DEPUTY CLERK

                                                   PETITION EOR DAMAGES

                          NOW INTO COURT, through undersigned counsel, come NAZ, LLC and SHAMSNIA

                NEUROLOG'y , LLC ( Plaintiffs”), Louisiana Liability Corporations, wrho respectfully represents

                as follows:

                                                                  1.

                         Made defendant herein is MT. HAWLEY INSURANCE COMPANY (“Mt. Hawley”), a

                division of RLI, a foreign insurance company that is authorized to do and doing business in the

                State of Louisiana with its principle place of business in Peoria, Illinois and who may be served

                through the Louisiana Secretary of State, and HSB SPECIALTY INSURANCE COMPANY

                (lhe Hartford Steam Boiler Inspection and Insurance Company), a foreign insurance company

                that is authorized to do and doing business in the State of Louisiana that may be served through

                the Louisiana Secretary of State, all who are truly and justly indebted unto your petitioners for the

                following reasons to-wit:

                                                      Jurisdiction and Venue

                                                                  2.

                         Jurisdiction is proper in this Court, as the controversy between the PLAINTIFFS,

                domiciled in Jefferson Parish, and their property damage insurance carriers, MT. HAWLEY and

                USB SPECIALTY INSURANCE COMPANY, is regarding property owned by PLAINTIFFS

                located at 2905 and 2909 KINGMAN STREET, METAIRIE, LA 70006 (“KINGMAN”).

                                                        Factual Background

                                                                  3.

                         PLAINTIFFS at all times pertinent to this litigation are the owners of the property located

                at 2505 and 2509 Kingman Street, Metairie, La 70006.




JON A. GEGEN HEIMER
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            ♦




                                                                    4.

                            MT. HAWLEY at all times pertinent to this litigation, provided a property policy of

                   insurance covering the PLAINTIFFS property under a policy of insurance number MCP0171034

                   (the Mt. Hawley policy).

                                                                    5.

                            USB SI ECIALTY INSURANCE COMPANY (The Hartford Steam Boiler Inspection and

                   Insurance Company) at all times pertinent to this litigation, provided a property policy of insurance

                   covering the PLAINTIFFS mechanical property under a policy of insurance number 1004916 (the

                  HSB policy).

                                                         Hurricane Ida Claims

                                                                    6.

                           Hurricane Ida made landfall off the coast of Louisiana as a Category 4 hurricane on

                  August 29, 2021.

                                                                    7.

                           That same day, Hurricane Ida struck the New Orleans/Metairie, Louisiana area with

                  hurricane and Category 4 force winds and rain, which thrashed the surrounding areas, including

                  the PLAINTIFFS’ property, KINGMAN.

                                                                    8.

                           The resulting winds and rain associated with Hurricane Ida caused the PLAINTIFFS’ a

                  large electric pole to snap, causing damage to PLAINTIFFIS’ property and building to receive

                  extensive damage including, but not limited to, damage to the MRI equipment as well as significant

                  damage to the chillers and other structures and technical support equipment.

                                                                    9.

                           PLAINTIFFS’ representatives notified MT. HAWLEY and HSB of the damage sustained

                  to the property caused by Hurricane Ida shortly after August 29, 2021 and gave MT. HAWLEY

                  and HSB full access to inspect all damage to the property and equipment without limitation.

                                                                   10.

                           It was not until a period before July 10, 2022 but specifically in correspondence dated July

                  10, 2022 that the defendants accepted full liability for a covered accident which was the cause of

                  the MRI magnetic field quench caused by loss of utility power as a result of the electrical pole

                  snapping and causing damage to the MRI machine and chillers.



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                                                                11.

                        On July 10, 2022 Reginald Grayson, representative of MT. HAWALE Y and HSB, advised

               PLAINTIFFS that liability was accepted for the covered accident, however, since July 10, 2022

               no payment has been made for the Hurricane Ida damages despite the fact that the MRI machine

               has been down since August 29, 2021 with loss of use despite the knowledge and admissions of

               the insurer, they have yet to pay for a period going on sixty days since they, in writing, admitted

               liability.

                                                 Claims for Breach of Contract

                                                                12.

                        MT. HAWLEY and HSB undeniably received satisfactory proof of loss of the damage to

              PLAINTIFFS’ property caused by Hurricane Ida on the date of inspection.

                                                                13.

                        MT. HAWLEY and HSB are in breach of its obligations to PLAINTIFFS under the

              insurance policy by their failure to timely inspect, assess and to pay timely the amounts owed

              under the policy for damage caused by Hurricane Ida

                                                                14.

                       It is unquestioned that shortly after Hurricane Ida that the cause of the damage and its

              coverage by the insurance policies and those amounts owed under the policy were easily

              determined as a result of Hurricane Ida.

                                                                15.

                       In addition to amounts reflected in the Proof of Loss required by MT. HAWLEY and HSB,

              PLAINTIFFS are entitled to all amounts due under the policy for the damages caused by Hurricane

              Ida that remain unpaid, including amounts above that listed in the proof of loss to repair and replace

              damage to the MRI and chillers and all amounts for loss of use and other expenses and relevant

              coverages less any applicable deductible.

                                 Claims for Violations of La. R.S. § 22:1892 and/or §22:1973

                                                               16.

                       Louisiana Revised Statute 22:1892 obligates an insurer to pay the amount due any insured

              within thirty (30) days after satisfactory proof of loss and states that failure to make such payment

              subjects the insurer to a penalty, in addition to the amount of the loss, of fifty percent damages on

              the amount due from the insurer to the insured, as well as reasonable attorney fees and costs.




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                                                              17.

                      Louisiana Revised Statute 22:1973 imposes on insurers in first party claims a duty of good

            faith and fair dealing which includes an affirmative duty to adjust claims fairly and promptly and

            to make reasonable efforts to settle claims with insureds.               Section 1973 makes any
            misrepresentation of pertinent facts or policy conditions a breach of that duty and good faith and

            fair dealing. Section 1973 also requires payment of any claim due to an insured within sixty (60)

            days ofproof of loss. Any insurer who breaches the obligations imposed by Section 1973 is liable

            foi the damages sustained as a result of the breach as well as a penalty up to two-times the damages

            sustained.

                                                              18.

                      Louisiana law requires that an insurer unconditionally tender the amounts due an insured

            in order to satisfy its payment obligations under the above statutes.

                                                              19.

                     In its letter of July 10, 2022 (Exhibit A), claims examiner, Reginald Grayson, clearly

           admitted having accepted liability for a covered accident which existed the moment Hurricane Ida

           caused the damage to the MRI magnetic field quench which was lost as a result of loss of utility

           power as a result of Hurricane Ida. Reginald Grayson, representative of MT. HAWLEY and HSB,

           alleged that he was working to validate repair cost presented which occurred before July 10, 2022

           and more than the thirty and sixty days for payment as required by Louisiana statutes.

                                                             20.

                     In addition to the amount of damages still owed to the PLAINTIFFS by MT. HAWLEY

           and HSB, MT. HAWLEY and HSB are also liable to PLAINTIFFS for penalty of fifty percent of

           the amount due from Ml. HAWLEY and HSB, as well as reasonable attorney fees and costs based

           on MT. HAWLEY and HSB’s failure to unconditionally tender the amounts owed to PLAINTIFFS

           for damages caused to PLAINTIFFS’ property from Hurricane Ida within the applicable delays

           after receipt of satisfactory proof of loss and repair validation and because MT. HAWLEY and

           HSB’s failure to do so was arbitrary, capricious and without probable cause.

                                                             21.

                     As a result of MT. HAWLEY and HSB’s failure to timely pay amounts owed,

           PLAINTIFFS have suffered and continues to suffer damages for which MT. HAWLEY and HSB

           are liable, including but not limited to mental aggravation and inconvenience for MT. H AWLEY



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               and HSB s misrepresentation of pertinent facts concerning the amounts owed and extent of

               damage, its coverages, and its insurance policy provisions as well as for failing to unconditionally

               tender the amounts owed to PLAINTIFFS within the applicable delays for receipt of satisfactory

               proof of loss, because that failure was arbitrary, capricious and without probable cause.

                                                                22.

                        In addition to actual damages for its violation of Louisiana Revised Statute 22:1973, MT.

               HAWLEY and HSB are additionally liable to PLAINTIFFS for a penalty on top of the actual

               damages of up to two times the actual damages sustained or $5,000, whichever is greater.

                                                                23.

                        MT. HAWLEY and HSB are and continue to be in violation of both Louisiana Revised

               Statutes 22.1892 and 22:1973 and are liable unto plaintiffs for damages, statutory penalties,

              additional damages, attorney fees, interest and costs, to include but not limited to loss of use of its

              equipment for almost a year.

                       WHEREFORE after due proceedings hereon, NAZ, LLC and                           SHAMSNIA

              NEUROLOGY, LLC pray for judgment in their favor against the defendants, MT. HAWLEY

              INSURANCE COMPANY, a division of RLI and HSB SPECIALTY INSURANCE

              COMPANY (The Hartford Steam Boiler Inspection and Insurance Company), finding defendant

              in breach of both the insurance policy and its statutory obligations and are therefore liable unto

              NAZ, LLC and SHAMSNIA NEUROLOGY, LLC for all amounts as reasonable due under the

              policy as well as statutory damages, additional damages, attorney fees, interest, costs, loss of use

              of equipment, all as reasonable under the premise, to be determined by the trier of fact, and for all

              expert fees and for all general and equitable relief.

                                                             Respectfully submitted:

                                                              /s/ Robert G. Harvey, Sr. ______
                                                             ROBERT G. HARVEY, SR. #18615
                                                             HANNON VEY LAPLACE, #33934
                                                             600 North Carrollton Avenue
                                                             New Orleans, Louisiana 70119
                                                             Telephone: . (504) 822-2136
                                                             Facsimile:    (504) 822-2179
                                                             rgharvev@bellsouth.net
                                                             hvlaplace@gmaii.com


              PLEASE HOLD SERVICE




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                          24th JUDICIAL DISTRICT COURT FOR THE PARISlf OF-.fttFARSON 515

                                                     STATE OF LOUISIANA

                          Nogaz-s^a                                                                 DIVISION^

                                       NAZ, LLC and SHAMSNIA NEUROLOGY, LLC

                                                             VERSUS

                                    MT. HAWLEY INSURANCE COMPANY, a division of
                                    RLI and HSB SPECIALTY INSURANCE COMPANY

               FILED:
                                                                      DEPUTY CLERK


                                              REQUEST FOR WRITTEN NOTICE
                                                                                   r 11 c Q L> y-: F ® X
               TO:       Clerk of Court
                         24th Judicial District Court                              Time: 3J -3&               __________
                         Parish of Jefferson
                                                                                   Deputy Clerk
                         State of Louisiana
                                                                                             (SEE ATTACHED LOG)

                         PLEASE TAKE NOTICE, that you are hereby requested to provide the undersigned

               counsel with written notice of the date of trial of the above matter, as well as notices of hearings

               (whether on the merits or otherwise), orders judgments, and interlocutory decree, and any and all

               formal steps taken by the parties herein, the Judge, or any member of the court, pursuant to the

               Louisiana Code of Civil Procedure and without limitation, Articles 1674, 1913 and 1914.

                        YOU ARE HEREBY FURTHER notified that the undersigned attorneys will represent

               NAZ, LLC and SHAMSNIA NEUROLOGY, LLC, petitioners in the above entitled matter.


                                                              Respectfully submitted,

                                                               /s/ Robert G. Harvey, Sr.
                                                              Robert G. Harvey, Sr., # 18615
                                                              Hannon Vey Laplace, #33934
                                                              600 North Carrollton Avenue
                                                              New Orleans, Louisiana 70119
                                                              Telephone:    (504) 822-2136
                                                              Facsimile:    (504) 822-2179




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                                                                              Michelle S Bruner DY CLERK
                                                                              JEFFERSON PARISH LA




                     24th JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                               STATE OF LOUISIANA


                                         IN RE: HURRICANE IDA CLAIMS


              FILED:
                                                                               DEPUTY CLERK

                            STANDING CASE MANAGEMENT ORDER REGARDING
                     CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE IDA

                      On August 29, 2020, Hurricane Ida came ashore near Port Fourchon, Louisiana

             and traveled through Jefferson Parish. As a Category 4 (near 5) hurricane, it was the fifth
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             strongest storm to ever impact the United States. Hurricane Ida tied the Last Island                    LU
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             Hurricane in 1856 and Hurricane Laura in 2020 as the strongest to strike Louisiana, based               <o
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             on wind speed. The President of the United States issued a Declaration of a Major                       *
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             Disaster for the State of Louisiana on August 29, 2021. (See FEMA-4611-DR.) The                         tn
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             Declaration expressly includes Jefferson Parish as an “adversely affected area by this                  0
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             major disaster."1 Major Hurricane-force winds, with gusts in excess of 155 mph, covered                 s
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             the entirety of Jefferson Parish, and inflicted catastrophic damage throughout this Court's             o
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            jurisdiction. Hurricane Ida may sometimes hereinafter be referred to as the "Hurricane,"
                                                                                                                     o
                                                                                                                     o
             and the causes of action arising therefrom may sometimes be referred to as "the                         o
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                                                                                                                     "O
                                                                                                                      >TO
             Hurricane Cases."                                                                                       TJ
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                      In the aftermath of this catastrophic natural disaster, this Court recognizes that it
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            will soon preside over substantial volumes of insurance coverage-related litigation linked               a:
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            to the Hurricane. Additionally, and like so many other courts across the globe, this Court               UJ
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            has faced significant challenges to conducting court business for the better part of a year,             s
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            as a result of the on-going COVID-19 pandemic. The residents and businesses of
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            Louisiana have similarly struggled to cope with the negative economic impact of COVID-
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             19, even before Hurricane Ida.                                                                          T—


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            1 https://www.fema.gov/disaster-federal-register-notice/4611-dr-la-initial-notice


                                              Standing Case Management Order
                                                   Hurricane Ida Litigation
                                                              1
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                    In the weeks following Hurricane Ida, many related lawsuits will be filed and be

          pending before this Court. In Act 318 of the 2020 Regular Session the Louisiana

          Legislature amended the laws expanding judicial authority related to special masters and

          mandatory mediation in cases stemming from certain major disasters ("Act 318").2

                   Act 318 authorizes this Court to enter this CMO, and after consultation with and

          upon the recommendation of the Special Master and in consideration of the high volume

          of cases from Jefferson Parish in state and federal courts, this Court finds it warranted to

          enter this CMO to best accommodate the adjudication of Hurricane Cases in this Court

                   Accordingly, this Court's aim continues to be the just and expedient resolution of

          these related matters, in spite of the increased strain on the Court's resources, and with     co
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          the primary goal of enabling the Jefferson Parish community to move forward with crucial       <
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          recovery efforts, in the aftermath of Hurricane Ida, and the COVID-19 pandemic, in
                                                                                                         O
          consideration of these aims and the law, after due consideration of the Case Management        o
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                                                                                                         LU
                                                                                                         0
          Orders and discovery protocols implemented by the 14th Judicial District Court and the         <
                                                                                                         0
                                                                                                         I—
          U.S. District Court for the Western District of Louisiana following Hurricanes Laura and       cc
                                                                                                         o
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          Delta, the 24th Judicial District Court issues the instant Case Management Order, to-wit:      o
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                    IT IS HEREBY ORDERED that this Case Management Order shall be
                                                                                                         o
          immediately applicable to all Hurricane Cases.                                                 o
                                                                                                         o’
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                                                                                                         'O
                      SECTION 1. DISASTER PROTOCOLS FOR INITIAL DISCOVERY                                >
                                                                                                          03
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                   The Court has reviewed the Disaster Litigation Initial Discovery Disaster Protocols   m
                                                                                                         o
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         adopted by 14th Judicial District Court and the U.S. District Court for the Western District
                                                                                                         CC
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         of Louisiana following Hurricanes Laura and Delta filed in those courts. The Federal Court      LL

                                                                                                         W
         considered the Disaster Protocols implemented by the U.S. District Court for the Southern
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         District of Texas following Hurricane Harvey. The 14th Judicial District Court considered

         the Disaster Protocols implemented by the Federal Courts. These Disaster Protocols call         CM
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         for prompt sharing of specific information to promote uniformity, to facilitate prompt          CM

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         evaluation of each case, to foster communication between the parties, and to facilitate an
                                                                                                         iz
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         2 See La. R.S. 13:4165(F).



                                           Standing Case Management Order
                                                Hurricane Ida Litigation
                                                           2
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               expedited mediation procedure. Accordingly, December 29, 2021, this Court issued a

               Standing Order for Disaster Discovery Protocols in Certain Property Damage Suits

               Arising from Hurricane Ida (“Disaster Discovery Protocols") therefore,

                         IT IS FURTHER ORDERED that the Disaster Discovery Protocols Initial Discovery

               Protocols are deemed incorporated into this CMO in extenso and are applicable to all

               Hurricane Cases filed in this Court. The disclosures and exchange of information required

               by the Disaster Discovery Protocols Order issued on December 29, 2021 shall be due

               forty-five (45) days from the date that defendant files responsive pleadings. This deadline

               may sometimes hereinafter be referred to as the "Disclosure Deadline." No extension or
                                                                                                              co
               delay in the time to file responsive pleadings shall extend the Disclosure Deadline to more    CD
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              than 75 days from the original deadline to file responsive pleadings unless the extension       <
                                                                                                              Q.
                                                                                                              CD
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               is by the consent of all parties or pursuant to an express Order of the Court.
                                                                                                              O
                        IT IS FURTHER ORDERED that each party shall supplement their Initial                  O
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               Disclosures at least fifteen (15) days prior to any scheduled mediation pursuant to the        <
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              CMO.                                                                                            O
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                        Nothing in this Section prevents other discovery in accordance with the provisions    CD
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              of the Code of Civil Procedure, except that requests for subpoenas and subpoenas duces
                                                                                                              o
              tecum shall not be submitted during the SSP without pre-approval of the Special Master          o
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                                                                                                              T3
              or leave of the Court.                                                                          >
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                            SECTION 2. SPECIAL MASTER AND APPOINTED NEUTRALS                                  LO
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                                                                                                              o
                        Considering the foregoing reasons supplied by the Court in the introduction, supra,
                                                                                                              <
                                                                                                              CL
              the Court finds that exceptional circumstances exist which warrant the appointment of a
                                                                                                              LU
              Special Master to assist with the efficient and fair administration of all Hurricane Cases.
                                                                                                              <
              Pursuant to the Court's inherent judicial power and its authority under La. R.S. 13:4165,

              et seq,                                                                                         CN
                                                                                                              O
                                                                                                              CN
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                                                                                                              CN
                        IT IS FURTHER ORDERED that JONATHAN C. PEDERSEN, BLAIR C.                             CN
                                                                                                              T—


                                                                                                              LU
              CONSTANT and DONALD MASSEY, are hereby appointed as the Special Masters
                                                                                                              LU
                                                                                                              LU
              (hereinafter “Special Master") for Hurricane Cases in the 24th Judicial District Court.




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                         As part of this appointment, the Court mandates that the Special Master shall

                proceed with all reasonable diligence, and shall exercise the respective rights and

               responsibilities to direct the Streamlined Settlement Process (“SSP”) as provided in this

               Order.

                         IT IS HEREBY FURTHER ORDERED that the Appointed Neutrals, referenced in

               Section 3(B)(2)(a), infra, are hereby appointed and shall proceed with all reasonable

               diligence and shall exercise their rights and responsibilities under the Streamlined

               Settlement Process ("SSP") as the Special Master may direct.

                         A.      The Special Master, The Special Master shall administer, coordinate, and
                                                                                                                 co
                         preside over the SSP. This authority includes the power to order parties and/or         CD
                                                                                                                 LU
                                                                                                                 0
                         party representatives with full power of settlement to submit briefings, engage in      <
                                                                                                                 Q_
                                                                                                                 CD
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                                                                                                                 CD
                         discovery, and attend settlement conferences. Nothing in this part shall prevent
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                         regular formal discovery or motions to compel to be filed with and heard by the         o
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                                                                                                                 i.u
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                         assigned District Judge.                                                                <
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                         B.      Compensation of Special Master and Appointed Neutrals. The Special              co
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                                                                                                                 o
                         Master and all other appointed neutrals under the SSP (the "Appointed Neutrals")
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                         shall be compensated in the amount of:
                                                                                                                 o
                                                                                                                 o
                                                                                                                 o
                                 (D      $400 per hour for the Special Master;                                   </>
                                                                                                                 T3
                                                                                                                  >TO
                                 (2)     $400 per hour for the Appointed Neutrals;                               TJ
                                                                                                                 co
                                                                                                                 LO
                                                                                                                 o
                                 (3)     $250 per case for the Special Master for administrative expenses in     T“
                                                                                                                 o
                                         administering, scheduling, organizing, and coordinating the
                                         Streamlined Settlement Process for each case amongst the parties        <
                                                                                                                 Q.
                                         as well as with the Appointed Neutrals and shall be paid by the         u.
                                                                                                                 LL
                                         parties at the time their respective initial pleadings are filed; and   LU



                                 (4)     All actual expenses of the Special Master and Appointed Neutrals,       <
                                         including but not limited to travel, meeting rooms and video
                                         conference means.
                                                                                                                 CM
                                                                                                                 o
                                                                                                                 oq
                         Unless otherwise directed by mutual agreement of the parties or as otherwise            o
                                                                                                                 cn

                         directed by the Special Master, all of the above fees and expenses shall be paid        eq
                                                                                                                 T“"



                                                                                                                 LU
                         twenty-five percent (25%) by the plaintiff(s) and seventy-five (75%) by the
                                                                                                                 iL
                                                                                                                 LU
                         defendant(s).




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                       c.       Role of Special Master and Appointed Neutrals

                                (1)    The Special Master and Appointed Neutrals may communicate ex
                                       parte with the Court when deemed appropriate by the Court, or the
                                       Special Master, without providing notice to the parties, including
                                       communication certifying that the parties have complied with the
                                       requirements of the SSP.

                                (2)    The Special Master and Appointed Neutrals may initiate contact and
                                       communicate with counsel for any party as he or she deems
                                       appropriate with respect to the efficient administration and
                                       management of the SSP.

                                (3)    The Special Master and Appointed Neutrals, the parties, and those
                                       assisting the foregoing shall be bound by the confidentiality of the
                                       settlement discussions.
                                                                                                              co
                                (4)    The Special Master may designate any of the Appointed Neutrals to      co
                                                                                                              LU
                                       act as his deputy from time to time and to perform any duties of the   0
                                       Special Master.                                                        <
                                                                                                              CL
                                                                                                              tn
                                                                                                              tn
                       D.       Notice of Opt-Out Motion to the Special Master. Any party to a Hurricane      5
                                Case may file a motion with the assigned District Judge requesting an opt     o
                                                                                                              oCQ
                               out from the SSP for good cause shown, which motion must be filed within       UJ
                                                                                                              0
                                                                                                              <
                               the time delay contained in Section 3, infra.                                  0
                                                                                                              DC
                                                                                                              o
                      IT IS FURTHER ORDERED that any party filing an opt out motion shall copy the            co
                                                                                                              CD
                                                                                                              m
                                                                                                              o
             Special Master, and that the parties shall provide notice of the Court's Order on the motion
                                                                                                              CN


             to opt out to the Special Master, regardless whether the motion to opt out is granted or
                                                                                                              o
                                                                                                              o
                                                                                                              o
             denied.
                                                                                                               >
                                                                                                              03
                      IT IS FURTHER ORDERED that counsel for any party to a Hurricane Case that               “□
                                                                                                              CO
                                                                                                              in
                                                                                                              o
             has been provided a copy of this Order shall be required to provide email notice to the
                                                                                                              o

             Special Master of the initial pleadings and all subsequent filings in any Hurricane Case         tr
                                                                                                              <
                                                                                                              CL

             (knowledge of this provision is presumed where counsel for the party has been provided           itj

             a copy of this Order). The Special Master shall send an Initial Informational Package on         <

             the SSP to all parties and/or counsel of record for Hurricane Cases subject to the SSP.
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                             SECTION 3. STREAMLINED SETTLEMENT PROCESS CSSR")

                       Within 30 days of the filing of the defendant's responsive pleading (or within 15

              days of the transmittal to their counsel of a copy of this Order, including by electronic or

              other means - whichever is later), either party may file a motion to opt out of this

              Streamlined Settlement Process ("SSP”) for good cause shown. A motion to opt-out of

              the SSP is not a responsive pleading for any deadline contained in this CMO. Unless the

              Court authorizes an opt-out, the parties shall participate in the three-stage Streamlined

              Settlement Process, which is described as follows:

                       A.       First Stage: Initial Settlement Conference with Special Master. Within
                                                                                                                  CO
                                                                                                                  CD
                                30 days of the Disclosure Deadline in all Hurricane Cases, all parties shall      LU
                                                                                                                  0
                               participate in an informal settlement conference with the Special Master or        <
                                                                                                                  CL
                                                                                                                  <D
                               his Deputy. In light of the COVID-19 pandemic as well as the desire to
                                                                                                                  *
                               resolve the Hurricane Cases as expeditiously as possible, settlement               o
                                                                                                                  o
                                                                                                                  CQ
                               conferences should be conducted, where possible, by phone or audiovisual           LU
                                                                                                                  0
                               communication, including but not limited to Zoom, Skype, or similar                <
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                               platforms. Counsel for each plaintiff and for each defendant must have full        O'
                                                                                                                  o
                               authority from their clients to resolve the case, who shall be readily available   co
                                                                                                                  CD
                                                                                                                  m
                               by telephone if circumstances for that particular settlement conference            o
                                                                                                                  04
                               require assistance.
                                                                                                                  o
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                       B.      Second Stage: Mediation. Cases that do not resolve during the initial              </>
                                                                                                                  >
                               settlement conference shall be set for a formal mediation. The Special             "□
                                                                                                                  co
                               Master shall assign each Hurricane Case to an Assigned Neutral from the            10
                                                                                                                  o
                                                                                                                  T—
                               court approved list found in Paragraph B(2) of this Subsection, and it is the      o
                                                                                                                  q:
                               goal that Assigned Neutrals complete mediation within 70 days of                   <
                                                                                                                  Q,
                                                                                                                  LL
                               appointment. The Special Master (or Appointed Neutral for the case) may            LL.
                                                                                                                  LU
                               set a scheduling conference, or communicate with counsel about availability
                                                                                                                  <
                               through other means, but shall seek to schedule the mediations in an
                               expeditious manner at mutually convenient times and dates for all parties.
                                                                                                                  04
                                (1)    Conduct of Mediation.                                                      o
                                                                                                                  04
                                                                                                                  (T)
                                                                                                                  04
                                      (a)    After scheduling of an agreed mediation, counsel for each
                                                                                                                  T—



                                             party shall submit confidential statements solely to the             LU
                                                                                                                  _J
                                             appointed neutral. The appointed neutral shall determine,            Eiu
                                             after conferring with the parties, on the length of the




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                                            confidential    mediation    statements   and   the    permissible
                                            number of exhibits attached thereto.
                                      (b)   Plaintiff(s) shall be present in-person along with counsel
                                            (subject to     accommodations      approved        by the   case's
                                            Appointed Neutral). Defense counsel shall also attend in-
                                            person. A representative from defendant(s) is encouraged to
                                            attend, but unless otherwise directed by the Special Master
                                            the defendant(s) representative shall not be required to attend
                                            if counsel for the defendant has full authority to resolve the
                                            case. In addition, a representative of the defendant shall be
                                            readily available by telephone, if circumstances for that
                                            particular mediation require assistance.
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                                     (c)    To the extent agreed by the parties and the case's Appointed
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                                            Neutral, this mediation conference may be conducted by                <
                                                                                                                  CL
                                            phone or other means of electronic audio                 or video     CD

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                                            communication, including but not limited to Zoom, Skype, or           *
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                                            similar platforms.                                                    O
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                                    (d)     As part of this Streamlined Settlement Process, the attendees         0
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                                            may each make opening statements but there shall be no live           H
                                                                                                                  OC
                                                                                                                  O
                                            witness testimony.
                                                                                                                  co
                             (2)    Approved Neutrals.           The Court hereby initially designates and        ID
                                                                                                                  O

                                    appoints the following individuals as "neutrals" (mediators) for the          04


                                    SSP:
                                                                                                                  o
                                                                                                                  o
                                    (a)     Any person       designated    by the     Special    Master after     o'
                                                                                                                  </>
                                                                                                                  •U
                                            consultation with the Court who is qualified pursuant to R.S.         >
                                                                                                                  "O
                                            13:4165(F)(5)(6), including:                                          co
                                                                                                                  g
                                            Hon. Stanwood Duval (ret.)          Hon. Jules Edwards (ret.)         T—
                                                                                                                  o
                                            Hon. Carolyn Gill-Jefferson (ret.) Hon. “Rusty1’ Knight (ret.)        DC
                                                                                                                  <
                                                                                                                  CL
                                            Hon. Cornelius Regan (ret.)         Hon.Ronald J. Sholes (ret.)       LL
                                                                                                                  LL
                                                                                                                  LU
                                            Hon. Franz Ziblich (ret.)           Ashley Bass, Esq.                 “J


                                            Jacques Bezou, Esq.                 Phillip Brickman, Esq.            <

                                            Blair C. Constant, Esq.             Robert Raymond, Esq.
                                            Michelle Craig, Esq.                Bobby M. Harges, Esq.             04
                                                                                                                  O
                                                                                                                  04
                                            Fred Herman, Esq.                   Ross Legard, Esq.                 O
                                                                                                                  04
                                                                                                                  04
                                            Donald Massey, Esq.                 Jonathan Pedersen, Esq.           T—

                                                                                                                  LU

                                            Roger A. Javier, Esq.
                                                                                                                  LU




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                                         (b)    Any person designated as a neutral pursuant to any Case
                                                Management Order that the U.S. District Court for the Eastern
                                                District of Louisiana may enter in connection with Hurricane
                                                Ida cases.
                                  (3)    Neutral Training. The Special Master may undertake to provide
                                         special training to the neutrals, including coordinating participation in
                                         training prepared for the Streamlined Settlement Process. The
                                         Special Master and his Deputy may jointly form a plaintiffs' liaison
                                         committee and a defense liaison committee or may coordinate with
                                         any related Federal Court liaison committees for Hurricane Cases. If
                                         formed, the Special Master or his Deputy may solicit input and
                                         responses concerning commonly occurring legal issues that the
                                                                                                                     co
                                         liaison committees, from experience, believe may arise in a large
                                                                                                                     id
                                         number of these cases, along with relevant case law or other                O
                                                                                                                     <
                                                                                                                     CL
                                         authority addressing these issues. While the ultimate determination         (D
                                                                                                                     CO

                                         of any such common issue may well be fact driven, and the outcome
                                                                                                                     5
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                                        of any legal issue will be determined by the Court, the Special Master       o
                                                                                                                     co
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                                        or his Deputy may seek this information in order to educate and fully        0
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                                        prepare the appointed neutrals with the hope of expediting the               f—
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                                        settlement process. The Special Master or his Deputy may facilitate
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                                        discussions by and among the appointed neutrals to promote, to the           l-O
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                                        extent possible, consistency in the resolution of cases.                     <N


                                 (4)    Neutral Reporting. Within 5 days of the mediation date, the Neutral
                                                                                                                     o
                                                                                                                     o
                                        shall inform the Special Master of the outcome of the mediation.             o
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                                 (5)    Stipulation for Mediation. The Neutral, the Parties and counsel for          ’>




                                        the parties must execute the Stipulation for Mediation attached              co
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                                                                                                                     o
                                        hereto as Exhibit A.                                                         v—
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                         C.      Third Stage: Final Settlement Conference with Special Master. In the
                                 event a case does not settle during the Mediation Phase, the parties shall          ii

                                 participate in a final settlement conference with the Special Master or his         <
                                 Deputy. The Special Master should aspire to conduct this final settlement
                                 conference within 45 days of receiving notice from the Neutral that a               o
                                 particular case did not settle during the mediation phase. To facilitate this       aS
                                                                                                                     CM
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                                 final settlement conference, the Special Master or his Deputy may require           T”

                                                                                                                     id
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                                 the parties to submit additional mediation statements and set restrictions          LL
                                                                                                                     LU
                                 upon the number and type of exhibits attached thereto. The Special Master
                                 or his Deputy may also communicate with the Neutral who conducted the




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                                  mediation so as to facilitate a productive final settlement conference. A
                                  scheduling order will not be entered by the Court unless the Special Master
                                  or his Deputy have filed a certificate into the record attesting that all parties
                                  have participated in the final settlement conference with the Special Master
                                  or his Deputy.
                         D.       Extensions of Time. Upon a joint request by the parties, for other good
                                  cause shown, or for case management purposes, the Special Master or his
                                  deputy may extend any deadline specified in this Order by up to 15 days.


                       SECTION 4. COURT APPOINTED UMPIRES REQUIRED UNDER POLICIES

                         If an insurance policy implicated in a Hurricane Case provides for court

               appointment of a neutral or third appraiser for valuation disputes (hereinafter referred to            co
                                                                                                                      co
                                                                                                                      111
               as an "Umpire"), any request for the appointment by this Court of an Umpire shall only                 0
                                                                                                                      <
                                                                                                                      Q.
                                                                                                                      co
               occur if the parties have been unable to agree on their own.                                           CD
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                                                                                                                      *
                        A.       Where Parties HAVE been allowed to Opt Out of the SSP. If any party                  O
                                                                                                                      O
                                                                                                                      OQ
                                 has been permitted to opt out of the SSP following a timely motion for the           LU
                                                                                                                      0
                                 same, any party requesting appointment of an Umpire shall file a motion              <
                                                                                                                      0
                                                                                                                      DC
                                 requesting same with the case's assigned District Judge, which motion shall          O
                                 be set for contradictory hearing. Counsel for either or both the Insured and         CO
                                                                                                                      CD
                                                                                                                      m
                                                                                                                      o
                                 the Insurer may also submit a joint motion requesting appointment of an              v-
                                                                                                                      CN
                                 Umpire to the District Judge, who may agree to hear the motion on his or
                                 her regular docket.                                                                  o
                                                                                                                      o
                                                                                                                      o
                                                                                                                      </>
                                                                                                                      ■o
                        B.       Where Parties Have NOT Opted Out of the SSP. In all other cases, any                 >
                                                                                                                      "O
                                                                                                                      co
                                 request for the appointment by the Court of an Umpire shall be made in               LO
                                                                                                                      o
                                 writing no later than 14 days following the filing of the defendant's                o

                                 responsive pleading. Any motion or request for this Court's appointment of           (Z
                                                                                                                      <
                                                                                                                      CL
                                 an Umpire shall be submitted to the Special Master in the same manner as             u.
                                                                                                                      u.
                                                                                                                      LU
                                 provided for a discovery dispute under the SSP, and the parties shall notify         “J


                                                                                                                      <
                                 the Special Master and transmit the Umpire request to the Special Master
                                 via email atjcpedersen@specialmasterservices.com. The deadline may be
                                                                                                                      CN
                                 extended by the Special Master in exceptional circumstances.                         O
                                                                                                                      eq
                                                                                                                      CM
                                                                                                                      CM
                        C.       Umpire-Only Filing. If a requesting party is seeking court appointment of            T“

                                                                                                                      LU
                                 an Umpire and no case is otherwise filed or pending before this Court (an            iZ
                                                                                                                      LU
                                 "Umpire Only Filing"), then the parties shall follow the same procedures in
                                 Subsection 4(1). Any such request shall be made in writing no later than 14




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                             days following the filing of the defendant's responsive pleading, and any
                             such motion or request for this Court's appointment of an Umpire shall be
                             referred to the Special Master under the above captioned general docket
                             created for the Hurricane Cases. The parties shall notify the Special Master
                             and transmit the Umpire request to the Special Master via email at
                             icpedersen^specialmasterservices.com. The deadline may be extended
                             by the Special Master in exceptional circumstances.
                             (1)    An Insurer is required to provide written notice of the request to any
                                    known counsel for the Insured (or directly to an unrepresented
                                    Insured). An Insured is required to provide written notice of the
                                    request to any known counsel of Insurer (if any) or alternatively to
                                    the Insurer's primary point of contact on the claim with Insured. The
                                                                                                             co
                                    appraisers previously selected by each party shall also be provided      CD
                                                                                                             LU
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                                    notice, and their contact information (phone and email address) shall    <
                                                                                                             CL
                                    be provided in the request for appointment of an Umpire.                 'D
                                                                                                             to


                             (2)   A written report and recommendation following the Umpire's
                                                                                                             o
                                   appointment shall be issued to the parties, and shall be deemed           o
                                                                                                             co
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                                   applicable to the parties in the same manner as if made by an order       0
                                                                                                             <
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                                   of the Court unless the report and recommendation is overturned by
                                                                                                             O'
                                                                                                             O
                                   the assigned District Judge following a motion filed with the assigned
                                                                                                             co
                                                                                                             CD
                                   District Judge within seven days of transmittal of the written report.    in
                                                                                                             o
                            (3)     In an Umpire Only Filing, the Special Master shall provide the report    i—
                                                                                                             CN


                                   and recommendation to the parties, who will in turn provide the same
                                                                                                             O
                                                                                                             o
                                   to the District Judge as of the time of the issuance of the report and    o
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                                   recommendations. Similarly, the recommendation shall be deemed            >
                                                                                                             ro
                                                                                                             TJ
                                   applicable to the parties in the same manner as if made by an order       co
                                                                                                             in
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                                   of the Court unless the report and recommendation is overturned by        |

                                   the District Judge following a motion filed with the District Judge       O'
                                                                                                             <
                                                                                                             CL
                                   within seven days of transmittal of the written report.
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                                        SECTION 5. CLERK OF COURT AND NOTICE

                         A.       Any Plaintiff filing a Hurricane Case should note on its cover letter to the
                                  Clerk, in a// CAPS type and red font (if possible) that the matter is a
                                  "HURRICANE       CASE."     Each    caption    and   on    each    pleading,
                                  "HURRICANE CASE" in bold print shall follow the docket number. If
                                  the Special Master learns the Order has not been entered by the Clerk of
                                  Court, he shall serve it on the parties by email and may file proof of the
                                  same into the record at no cost
                         B.       In all Hurricane Cases, a copy of this Order shall be served on the
                                  defendant(s) along with the Petition and Citation. The Clerk of Court shall
                                  include a reference that the Case Management Order is served with the           CO
                                                                                                                  (JD
                                                                                                                  LU
                                  Petition in the Citation issued. The Clerk of Court shall also provide a copy   O
                                                                                                                  <
                                                                                                                  CL
                                 to the plaintiff by any authorized means.                                        <D
                                                                                                                  LD
                        C.       The Clerk of Court shall transmit via email, at least weekly, to the Special     X?
                                                                                                                  *
                                  Master the docket numbers, case caption, and attorney contact information       o
                                                                                                                  oco
                                 for any Hurricane Cases filed.                                                   LU
                                                                                                                  0
                        D.                                                                                        <
                                Any party making any filing in a Hurricane Case subject to this Order shall       0
                                                                                                                  QC
                                 serve a courtesy copy on the Special Master in the same manner as                O

                                 enrolled counsel via email at jcpedersenffispecialmasterservices.com.            co
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                                                 SECTION 6. COURT SUPERVISION

                           The Disaster Discovery Protocols and Streamlined Settlement Process shall, at all

              times, be subject to the ultimate control and supervision of the Court. This Case

              Management Order for Hurricane Cases is subject to modification pursuant to further

              orders of this Court. All provisions of this Order shall become effective December 29.

              2021 and shali be applicable to all cases whether then pending or thereafter filed.

                           DONE AND SIGNED this 29th day of December, 2021, at Gretna, Jefferson

              Parish, Louisiana.

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               Judge Ravrnbnd S. Steib, JrT'Div, ‘'A”           Judge Nancy A. Miller, Div. “I”                                                             (.O
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               Judge R. Christopher Cox III, Div. “B”            Judge Stephen <1. Grefer;\Div. “'J”                                                       LU
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               Judge Scott U. Schlegel, Div. “D                 Judge Donald A. Rowan, Jr., Div. “L” (
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         C.A/|udge Michael P. piv^T'”                           Judge Stephen D. Enright. Jr., Div. “N”                                                    or
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               JucFgd'-E. Adrian Adams, Div. “G”
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                                                                Judge Lfe4'Vie.4'C- M- TzC |v r'J/.b.v. !i0<?


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               Judge Donald “Chick” ForeVDhc “H”                Judge' Lee V. Faulkner, Jr,, Div. “P”                                                      CN
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                                                  Standing Case Management Order
                                                       Hurricane Ida Litigation
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                                                           12170593




                      24th JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                  STATE OF LOUISIANA


                                            IN RE: HURRICANE IDA CLAIMS


              FILED:
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                     STIPULATION FOR MEDIATION IN STREAMLINED SETTLEMENT PROGRAM

                        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned
                                                                                                                   co
             parties:                                                                                              LU
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                     1. The parties have agreed to submit their dispute to mediation pursuant to the SSP,          O.
                                                                                                                   CD
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                        as specified in the Standing Case Management Order (and any relevant
                                                                                                                   *
                        amendments).                                                                               o
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                     2. No party shall be bound by anything said or done during the mediation, unless              <
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                        either a written and signed stipulation is executed, or the parties enter into a written   K
                                                                                                                   o
                        and signed agreement. The appointed neutral may meet in private conference with            CO
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                        less than all parties. Information obtained by the neutral, either in written or oral      O

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                        form, shall be confidential and, except as provided by Order of the Court, it shall
                        not be revealed by the neutral unless and until the party who provided that                o
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                        information agrees to its disclosure.
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                     3. The mediation process shall be considered a settlement negotiation for the                 in
                                                                                                                   o
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                        purpose of all federal and state rules protecting disclosures made during such             o

                        conferences from later discovery or use in evidence. The entire procedure shall be         <
                                                                                                                   Q.
                        confidential, and no stenographic or other record shall be made except to                  tLU
                        memorialize a settlement record. All communications, oral or written, made during
                                                                                                                   <
                       the mediation by any party or a party's agent, employee, or attorney are
                        confidential and, where appropriate, are to be considered work product and
                                                                                                                   CM
                                                                                                                   O
                        privileged. Such communications, statements, promises, offers, views and                   CM
                                                                                                                   cf)
                                                                                                                   CM
                        opinions shall not be subject to any discovery or admissible for any purpose,              CM
                                                                                                                   5—

                        including impeachment, in any litigation or other proceeding involving the parties.        LU
                                                                                                                   lL
                        Provided, however, that evidence otherwise subject to discovery or admissible is           LU

                        not excluded from discovery or admission in evidence simply as a result of it having
                        been used in connection with this mediation process.



                                                 Standing Case Management Order
                                                      Hurricane Ida Litigation
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                     4. The appointed neutral and his or her agents shall have the same immunity as
                        judges and court employees have under Louisiana law and jurisprudence from
                        liability for any act or omission in connection with the mediation, and from
                        compulsory process to testify or produce documents in connection with the
                        mediation.


                     5. The parties (i) shall not call or subpoena the appointed neutral as a witness or
                        expert in any proceeding relating to: the mediation, the subject matter of the
                        mediation, or any thoughts or impressions which the appointed neutral may have
                        about the parties in the mediation, and (ii) shall not subpoena any notes,
                        documents or other material prepared by the appointed neutral in the course of or
                                                                                                              co
                        in connection with the mediation, and (iii) shall not offer into evidence any         (.D
                                                                                                              LU
                        statements, viev/s or opinions of the appointed neutral.                              0
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                                                                                                              co
                                                                                                              or
                     6. Any party to this Stipulation is required to attend at least one mediation session
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                        and as may be directed by the Special Master as many other sessions thereafter        oin
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                        as may be helpful in resolving this dispute.                                          0
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                     7. An individual with final authority to settle the matter and to bind the party shall
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                        attend the mediation on behalf of each party.                                         m
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                        Dated:
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                        First Plaintiffs Signature                      First Defendant’s Signature           ■a
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                        Second Plaintiffs Signature                                                           ct:
                                                                        Second Defendant’s Signature          <
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                        Counsel for Plaintiff                           Counsel for Defendant                 <



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                        Counsel for Plaintiff                           Counsel for Defendant                 eq
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                        Appointed Neutral                                                                     iL
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                                                Standing Case Management Order
                                                     Hurricane Ida Litigation
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                       24th JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                 STATE OF LOUISIANA


                                           IN RE: HURRICANE IDA CLAIMS


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                      STANDING ORDER FOR DISASTER DISCOVERY PROTOCOLS
                 IN CERTAIN PROPERTY DAMAGE SUITS ARISING FROM HURRICANE IDA

                         This Court hereby issues the following Standing Order establishing protocols

                for discovery ("Disaster Discovery Protocols") for all cases involving first-party
                                                                                                                            co
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                insurance property damage claims arising from Hurricane Ida ("Hurricane Cases"),                            LU
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                             IT IS ORDERED that within forty-five (45) days after the defendant's                           CD

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                submission of a responsive pleading or motion, the parties must exchange any                                X.
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                documents or information listed in these Disaster Discovery Protocols, for any such                         LU
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               time periods identified in these Disaster Discovery Protocols.
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                        IT IS FURTHER ORDERED that all parties shall remain under an ongoing                                S
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               duty to supplement their responses. No extension or delay in the time to file                                CN




               responsive pleadings shall extend the Disclosure Deadline to more than seventy                               o
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               (75) days from the original deadline to file responsive pleadings unless the                                 ■u
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               extension is by the consent of all parties or pursuant to an express Order of this                           CO
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              Court. Nothing in this Section prevents other discovery in accordance with the
                                                                                                                            CL
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                                                                                                                            Q.
              provisions of the Code of Civil Procedure except the restriction on subpoenas and                             LU
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              subpoenas duces tecum articulated in Section 1                        of the Standing Case                    <

              Management Order Regarding Certain Property Damages Suits Arising From
                                                                                                                            CM
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              Hurricane Ida issued December 29, 2021.                                                                       CN
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                                        Standing Order for Disaster Discovery Protocols

WP                                                 Hurricane Ida Litigation
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                        IT IS FURTHER ORDERED that a party may object to disclosure of these

              Disaster Discovery Materials only if the material is Privileged as that term is defined

              herein. Any party withholding disclosure of any information or documents, where

              said disclosure is required pursuant to the Disaster Protocols, shall produce a

              privilege log to opposing counsel on or before the Disclosure Deadline. This

              privilege log shall detail all information or documents that it declined to produce on

              the basis that the material is privileged. The log should include the author of the

              document, the recipient of the document, the date of the document, and the nature

              of the privilege asserted.                                                                       co
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                       Any dispute concerning privileged items shall be resolved by contradictory              <
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                                                                                                               CD
                                                                                                               CD
              motion before the assigned District Judge. The District Judge may direct that the                CD


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              disputed items be provided to the Court for in camera inspection prior to the                    o
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              hearing of the motion.
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                       IT IS FURTHER ORDERED that on belief of a party that good cause exists as               O

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             to why a particular case should be exempted from the Disaster Protocols, in whole                 o
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             or in part, that party must file their objection with the Court prior to the expiration
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                                                                                                               o
             of the 45-day period set forth herein.                                                            o’
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                                             DISASTER DISCOVERY PROTOCOLS                                      “O
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              PART 1: INTRODUCTION AND DEFINITIONS.
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                                Statement of purpose.                                                          tz
                       (1)                                                                                     <
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                                a.     These Disaster Discovery Protocols apply to cases involving first-      LU

                                       party insurance property damage claims arising from natural             <
                                       disasters ("Disaster Cases"). The Disaster Protocols are designed to
                                       be implemented by trial judges, lawyers, and litigants in state and
                                                                                                               o
                                       federal courts. The Disaster Protocols make it easier and faster for    CN
                                                                                                               eq
                                       the parties and their counsel to: (1) exchange important information    CN
                                                                                                               T—

                                                                                                               LU
                                       and documents early in the case; (2) frame the issues to be resolved;
                                                                                                               zLU
                                       (3) value the claims for possible early resolution; and (4) plan for
                                       more efficient and targeted subsequent formal discovery, if needed.
                                b.     The Disaster Protocols are not intended to preclude or modify any
                                       party's rights to formal discovery as provided by law or other
                                             Standing Order for Disaster Discovery Protocols
                                                        Hurricane Ida Litigation
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                                        applicable rules. Responses to the Disaster Protocols do not waive
                                        or foreclose a party's right to seek additional discovery under the
                                        applicable rules.
                                 c.     Except as modified by the Court, these Disaster Discovery Protocols
                                        were prepared by a balanced group of highly experienced attorneys
                                        from across the country with expertise in Disaster Cases. The
                                        Disaster Protocols require parties to exchange information and
                                        documents routinely requested in every disaster case. The
                                        information and documents required to be produced includes
                                        favorable as well as unfavorable information and documents, is
                                        limited to information and documents that are not subject to
                                        objection, and is limited to the information and documents most likely
                                                                                                                      CO
                                                                                                                      co
                                        to be important and useful in facilitating early settlement discussion        U3
                                                                                                                      LU
                                        and resolving or narrowing the issues.                                        0
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                                                                                                                      Q.
                       (2)       Definitions. The following definitions apply to these Disaster Discovery             CD
                                                                                                                      CD
                                 Protocols:                                                                           <T)


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                                 a.     Claimed loss. "Claimed Loss" means the loss or damage that the                o
                                                                                                                      co
                                        Insured seeks to recover from the Insurer in the litigation.                  UJ
                                                                                                                      0
                                                                                                                      <
                                 b.                                                                                   0
                                       Document. "Document" and '-documents" are defined to be                        H
                                                                                                                      cr
                                       synonymous in meaning and equal in scope to the phrase                         o
                                       "documents or electronically stored information" in FRCP 34(a)(l )(A)
                                                                                                                      cn
                                       or similar state rules. A draft of a document or a nonidentical copy is        co
                                                                                                                      o
                                       a separate document.                                                           x—
                                                                                                                      rN

                                c.     Event "Event" means the disaster alleged to have caused the
                                                                                                                      O
                                       Insured's Claimed Loss.                                                        O
                                                                                                                      O
                                                                                                                      </>
                                d.     Identify (Documents). When referring to documents, to "identify"               ’>


                                                                                                                      nj
                                       means to describe, to the extent known: (i) the type of document; (ii)         •o
                                                                                                                      co
                                       the general subject matter; (iii) the date; (iv) the author(s), according      o
                                       to the document; and (v) the person(s) to whom, according to the
                                                                                                                      o
                                       document, the document (or a copy) was to have been sent.
                                                                                                                      (X
                                       Alternatively, to "identify" a document means to produce a copy.               <
                                                                                                                      CL

                                e.     Identify (Natural Persons). When referring to natural persons, to              t
                                                                                                                      LU
                                       "identify" means to give the person's: (i) full name; (ii) present or last
                                       known address and telephone number; (iii) email address; (iv)                  <
                                       present or last known place of employment; (v) present or last known
                                       job title; and (vi) relationship, if any, to the parties. Once a person
                                       has been identified in accordance with this subparagraph, only the             CM
                                                                                                                      O
                                       name of that person need be listed in response to subsequent                   CM
                                                                                                                      O)
                                       requests to identify that person.                                              CM
                                                                                                                      CM

                                                                                                                      LU
                                f.     Identify (Non-Natural Persons or Entities). When referring to a
                                       corporate entity, partnership, or other unincorporated association, to         u2
                                                                                                                      LU
                                       "identify" means to give the: (i) corporate or entity name and, if
                                       known, the trade or other names under which it has done business
                                       during the relevant time period; (ii) state of incorporation or
                                       registration; (iii) address of its principal place of business; (iv) primary
                                       phone number; and (v) internet address. Once a corporate or other

                                             Standing Order for Disaster Discovery Protocols
                                                        Hurricane Ida Litigation
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                                        business entity has been identified in accordance with this
                                        subparagraph, only the name of that entity needs to be listed in
                                        response to subsequent requests to identify that entity.

                                 g.     Insurer. "Insurer" means any person or entity alleged to have
                                        insured the Property that is the subject of the operative complaint,
                                        unless otherwise specified.

                                h.      Insured. "Insured" means any named individual(s), corporate
                                        entity(ies), partnership(s), or other unincorporated association(s)
                                        alleging property damage as an Insured in the litigation, or asserting
                                        a claim under an assignment.

                                        Loss. "Loss" means damage to the Property caused by the Event.

                                J-      Other Insurance. "Other Insurance" means any insurance policy,
                                        other than the Policy in force on the date of the Event, that covers or
                                        potentially covers the Property or the Claimed Loss.                      co
                                                                                                                  CO
                                                                                                                  (D
                                k.      Policy "Policy" means the insurance policy alleged to cover some          UJ
                                                                                                                  0
                                        or all of Insured's Claimed Loss that is the subject of the Insured’s     <
                                                                                                                  CL
                                        claim in the litigation.                                                  CD
                                                                                                                  CD


                                I.      Privilege. "Privilege” means information and documents that are           *
                                                                                                                  o
                                        protected from disclosure by the attorney-client privilege, or work­      oCQ
                                        product protection, including any joint defense agreement, privilege      in
                                                                                                                  0
                                        may properly be asserted include communications that reflect the          <
                                        mental impressions, conclusions, opinions, or theories of an              0
                                                                                                                  DC
                                        attorney. Documents routinely prepared in the ordinary course of          O
                                        business, including but not limited to adjusters' reports, and other
                                        expert analyses, including draft reports, are not privileged and should   co
                                                                                                                  o
                                        be produced.

                                m.      Property. "Property" means the property (building or contents) that
                                                                                                                  o
                                        the Insured claims coverage for under the Policy in the litigation.       o
                                                                                                                  o’
                                                                                                                  <A
                                n.      Relating to. "Relating to" means concerning, referring, describing,       ■O

                                                                                                                   >
                                        evidencing, or constituting.                                               03
                                                                                                                  ■Q

                                                                                                                  CO
                                                                                                                  m
                                                                                                                  o
                         (3) Instructions.                                                                        o
                                                                                                                  Ct
                                a.     The relevant time period for this Disaster Discovery begins on the date    <
                                                                                                                  CL
                                       immediately before the Event and ends on the date the lawsuit is filed     U.
                                                                                                                  u.
                                       for the Claimed Loss, unless a different time period is indicated with     LU

                                       respect to a specific production obligation as set out inPart 2 or Part
                                                                                                                  <
                                       3 below.

                                b.     This Disaster Discovery is presumptively not subject to any                CM
                                       objections except for attorney-client privilege or work-product            o
                                                                                                                  (N
                                       protection, including a joint defense agreement. Documents withheld        CT)
                                                                                                                  CM
                                       based on a privilege or work-product protection claim are subject to       CM
                                                                                                                  T—

                                       expressly making the claim. A detailed privilege log is required as        LU
                                       specified in this Order or any subsequent Orders of the Court,             LZ
                                       otherwise documents withheld as privileged or work-product                 LU

                                       protected communications may be described briefly by category or
                                       type. Withholding documents on this basis does not alleviate any
                                       obligation to produce the withheld documents or additional
                                       information about them at a later date, if the Court orders or the
                                       applicable rules require production.
                                            Standing Order for Disaster Discovery Protocols
                                                       Hurricane Ida Litigation
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                                c.     If a partial or incomplete or "unknown at this time" answer or
                                       production is given to any disclosure requirement in these Disaster
                                       Discovery Protocols, the responding party must state the reason that
                                       the answer or production is partial, incomplete, or unknown and
                                       when supplemental information or documents providing a complete
                                       response will be produced.

                                d.     For this Disaster Discovery, a party must disclose information and
                                       documents that the disclosing party has in its possession, custody,
                                       or control and that are reasonably available This Disaster Discovery
                                       is subject to obligations on supplementation and relevant
                                       requirements concerning certification of responses. This Initial
                                       Discovery does not preclude either party from seeking additional
                                       discovery at a later date.

                                e.    This Disaster Discovery is subject to the attached Interim Protective
                                      Order unless the parties agree or the court orders otherwise. The       CO
                                                                                                              CO
                                      Interim Protective Order will remain in place until and unless the      (O
                                                                                                              IJJ
                                      parties agree on, or the court orders, a different protective order.    O
                                      Absent party agreement or court order, the Interim Protective Order     <
                                                                                                              O.
                                      does not apply to subsequent discovery.
                                                                                                              CD


                               f.     Within 14 days after the filing of a responsive pleading by the         *
                                                                                                              o
                                      responding party, the Parties shall meet and confer on the format       o
                                                                                                              CQ
                                      (e.g., searchable PDF, Excel spreadsheet)for the production of          ID
                                                                                                              0
                                      documents under these Disaster Protocols. Thiswill not delay the        <
                                                                                                              0
                                      timeframes for Initial Discovery, absent court order. Nor will
                                                                                                              CK
                                      production in one format preclude requesting production in another      O
                                      format, if applicable rules of discovery allow.
                                                                                                              <j)
                                                                                                              un
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            PART 2: INFORMATION AND DOCUMENTS TO BE PRODUCED BY THE INSURED                                   T—
                                                                                                              CM


                      (D       Timing.
                                                                                                              o
                                                                                                              o
                                                                                                              d
                               Unless the Court orders otherwise, the Insured's Initial Discovery responses
                                                                                                              ■O
                               must be provided within 45 days after the Insurer has submitted a              >ra
                               responsive pleading or motion (its first filing in this Court.)                TJ
                                                                                                              co
                                                                                                              m
                                                                                                              o
                      (2)      Information to be produced by the Insured:
                                                                                                              o

                               a.     A description of the Insured's ownership or other interest in the       <
                                                                                                              CL
                                      Property.                                                               LL,
                                                                                                              LL
                                                                                                              LLJ

                               b.     The address of the Property (or location of movable Property) on the
                                      date of the Event.                                                      <

                               c.     The name of each Insurer and all policy numbers for each Policy or
                                      Other Insurance held by or potentially benefitting the Insured or the   CN
                                                                                                              O
                                                                                                              eq
                                      Property on the date of the loss, including relevant policy and claim   d
                                      numbers for any claims.                                                 oq
                                                                                                              CM
                                                                                                              V“


                                                                                                              ID
                               d.     Identify any current mortgagee or other known lien holder.
                                                                                                              C
                                                                                                              LU

                               e.     A computation of each item or type of Claimed Loss, including
                                      contents claims if in dispute. When the Policy requires, the
                                      computation should reasonably identify or itemize price and quantity
                                      of materials.


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                              f.     Identify any payments received under the Policy relating to the Event.
                                     Identify the source and amount of any payments received after the
                                     Event from Other Insurance, or any other source, for all or any part
                                     of the Loss.

                              g-     Identify any grant or other similar program that the Insured applied
                                     for after the Event, including a Small Business Administration loan,
                                     seeking payment for all or any part of the Loss.

                              h.     Identify the public or other adjusters, estimators, inspectors,
                                     contractors, engineers, or other persons engaged by or on behalf of
                                     the Insured relating to the Claimed Loss.

                                     With respect to any Other Insurance, all policy numbers, the name of
                                     each insurer, and claim and docket numbers for any claims madefor
                                     coverage by the Insured on the same Property at issue in this
                                     litigation.
                                                                                                              co
                                                                                                              co
                             J-      Identify the source and amount of any payments received after the        (jD
                                                                                                              LU
                                     Event from Other Insurance, or any other source, for all or any part     0
                                     of the Loss.                                                             <
                                                                                                              O.
                                                                                                              co
                                                                                                              <.D
                              k.    A general description, including the court and docket number, of any
                                                                                                              CT)


                                    other lawsuits arising from the Event relating to the Property.           *
                                                                                                              o
                                                                                                              o
                                                                                                              CQ
                              I.    A general description of any known preexisting damage to the              UJ
                                                                                                              0
                                    Property relating to the Claimed Loss.                                    <
                                                                                                              0
                                                                                                              QC
                              m.    A general description of any claims for property damage or lawsuits       O
                                    resulting from property damage in the past ten years relating to the
                                    Property.
                                                                                                              o
                                                                                                              T—

                             n.     Identify any sale, transfer, or foreclosure of the Property after the     CN


                                    Event.
                                                                                                              o
                                                                                                              o
                                                                                                              o
                    (3)      Complete and unaltered copies of the following documents to be produced          </>
                                                                                                              "O
                             by the Insured:                                                                  >
                                                                                                              XJ
                                                                                                              co
                             a.     Documents relating to the Claimed Loss, including: loss estimates;        LD
                                                                                                              O
                                    adjuster's reports; engineering reports; contractor's reports;            v~
                                                                                                              O
                                    estimates, bids, plans, or specifications regarding repair work
                                                                                                              CE
                                    (whether planned, in progress, or completed); photographs; videos;        <
                                                                                                              CL
                                    or other materials relating to the Claimed Loss, along with any           u.
                                                                                                              Ll_
                                    receipts, invoices, and other records of actual costs to repair or        LU
                                    replace the Claimed Loss. This shall include all reports or analyses,     §
                                    including draft reports, prepared on behalf of Insured.                   <

                             b.     Proofs of loss for the Claimed Loss.
                                                                                                              CM
                                                                                                              O
                                                                                                              CM
                             c.     Documents relied on by the Insured in generating any proof of loss        OT
                                                                                                              CN
                                    required or provided under the Policy.                                    CM


                                                                                                              LU
                             d.     Written communications exchanged between the Insured and
                                                                                                              il
                                    Insurer that refer or relate to Insured's Claimed Loss, the Property,     LU
                                    or damages, or otherwise relating to the Insured's claim.

                             e.     Photographs and videos of the Property taken for the purpose of
                                    documenting the condition of the Property, including photographs
                                    and videos of the Loss.


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                                 f.     Written communications, photographs, or estimates of damages
                                        sought from or paid by any other insurer related to the Event.

                                 g-     The insurance policy with respect to any Other Insurance, and the
                                        claim numbers for claims made to recover Loss to the Property
                                        relating to the Event.

                                  h.    Appraisals or surveys of the Property condition within five years
                                        before, or any time after, the Event.

                                        If there has been an appraisal under the Policy, documents relating
                                        to the appraisal process.

                                 J-     Any other document(s) on which the Insured relies to support the
                                        Claimed Loss.

               PART 3: INFORMATION AND DOCUMENTS TO BE PRODUCED BY THE INSURER.                                    CO
                                                                                                                   CO
                                                                                                                   iD


                        (D       Timing.                                                                           LU
                                                                                                                   0
                                                                                                                   <
                                                                                                                   CL

                                 Unless the court orders otherwise, the Insurer’s Initial Discovery responses      <D
                                                                                                                   (D
                                                                                                                   CD
                                 must be provided within 45 days after the Insurer has submitted a                 •'tf

                                 responsive pleading or motion (its first filing in this Court in response or      *
                                                                                                                   o
                                 answer to the plaintiffs claim). The disclosures related to Insurers and the      o
                                                                                                                   CQ
                                 use of the term ’’Insurer” under this Part shall extend to anyone acting for or   UJ
                                                                                                                   0
                                 on behalf of the Insurer in relation to the claim of the Insured, including the   <
                                                                                                                   0
                                 employees, contractors, and agents of either the Insurer or anyone                H
                                                                                                                   QC
                                 providing services to the Insurer related to the Insured's claim or Claimed       O
                                 Loss.
                                                                                                                   CD
                                                                                                                   un
                                                                                                                   o
                        (2)      Information to be produced by the Insurer:

                                 a.     If there is a dispute over coverage, in whole or in part, an
                                                                                                                   O
                                        explanation of the Insurer's reason for the denial of coverage,            O
                                                                                                                   o
                                        including:                                                                 </>
                                                                                                                   T3
                                                     Any exclusions or exceptions, or other coverage or            >
                                                     legal defenses;                                               ■S
                                                                                                                   co
                                               ii.   The factual basis for any exclusion, limitation,              ID
                                                                                                                   O
                                                     exception, or condition-based dispute or defense;
                                                                                                                   o
                                               ill.  Whether there is also a dispute as to the value or
                                                                                                                   o:
                                                     amount of the Claimed Loss;                                   <
                                                                                                                   CL
                                               iv.   Any other basis on which coverage was denied.                 LL
                                                                                                                   LL
                                                                                                                   LLI

                                 b.     If there is a dispute over all or part of the valuation, an
                                        explanation of the Insurer's basis for disputing the value or amount       <
                                        of the Claimed Loss, including:
                                               i.    The Insurer's understanding of the nature of the
                                                     dispute;                                                      cm
                                                                                                                   o
                                               ii.   The amount the Insurer disputes and the basis for that        CM
                                                                                                                   aS
                                                                                                                   CM
                                                     dispute, including any applicable Policy provisions that      CM

                                                     the Insurer alleges or believes are relevant to the           'f­

                                                                                                                   lu
                                                     dispute; and
                                               iii.  The amount the Insurer agrees to pay, if any, with            iz
                                                                                                                   IU

                                                     respect to any undisputed part of the Claimed Loss.

                                 c.     Any Policy terms or conditions that the Insurer alleges the Insured
                                        failed to comply with, including conditions precedent or other terms.



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                              d.     Any payments previously made under the Policy relating to the
                                     Event.

                              e.     A general description of any other basis for nonpayment of the
                                     Claimed Loss, in whole or in part.

                              f.     Any other Event-related lawsuits filed for the Property or the Insured.

                              g      Identify the adjuster(s) who handled the claim.

                              h.     Identify the individual(s) who evaluated, recommended, made,
                                     approved, or rejected the claims decision.

                                     Identify the field personnel, estimators, inspectors, contractors,
                                     engineers, or other persons who participated in any investigation of
                                     the claims or the claims process, had any part relating to Insurer's
                                     evaluation process for the claims, or upon who the Insurer relied
                                     upon or received information from concerning Insurer's evaluation
                                                                                                                co
                                     process or claim decision; and identify anyone who had any role in         co
                                                                                                                CO
                                     drafting, editing, reviewing, or approving any report(s), evaluation(s),   LU
                                                                                                                0
                                     or inspection(s) on behalf of Insurer involving the Insured's claim.       <
                                                                                                                CL
                                                                                                                (D
                                                                                                                CD
                              J-     If preexisting damage is at issue in the litigation, a general
                                     description of any prior claims in the past ten years for the Property.    *
                                                                                                                o
                                                                                                                o
                        (4)   Complete and unaltered copies of the following documents to be produced           cn
                                                                                                                LU
                              by the Insurer:                                                                   0
                                                                                                                <
                                                                                                                0
                              a.     The entire claim file maintained by the Insurer.                           QC
                                                                                                                O
                              b.     The complete Policy in effect at the time of the Event.                    CD
                                                                                                                ‘D
                                                                                                                O

                              c.     Assessments of the Claimed Loss, including: loss reports, expert           CN

                                     reports that contain any description or analysis of the scope of loss
                                     or any defenses under the Policy, damage assessments, adjuster's           O
                                                                                                                o
                                     reports, engineering reports, contractor's reports, and estimates of       o
                                     repair or replacement. This shall include all reports or analyses,         •U
                                                                                                                ’>

                                     including all drafts, prepared as part of the evaluation or claims          03
                                                                                                                TD
                                     process involving Insured's claim by Insurer, or documents or              co
                                                                                                                co
                                     records reviewed in any way in connection with Insurer's handling of       o
                                     the claim.                                                                 5
                                                                                                                K
                              d.     Photographs and videos of the Property taken for the purpose of            CL
                                     documenting the condition of the Property, including photographs           LU
                                                                                                                LU
                                     and videos of the Claimed Loss.                                            W
                                                                                                                s
                                                                                                                <
                              e.     Any other evaluations of the Claimed Loss.

                              f.     Documents containing recordings, transcripts, or notes of
                                                                                                                CM
                                     statements, conversations, or communications by or between the             O
                                                                                                                CN
                                     Insurer and the Insured relating to the Event.                             CM
                                                                                                                CN
                                                                                                                v-
                              g-     Any claim log, journal, diary, or record maintained by the Insurer         LU
                                     relating to the Claimed Loss. This includes all written records, written   -J
                                                                                                                LU
                                     communications, records of oral communications, reports, audits, or        UJ
                                     other records, including any documents, envelopes, logs or other
                                     documents evidencing when Insurer came into possession of any
                                     such records, regarding any aspect of the Insured's claim or that are
                                     in any way relating to the Insurer's investigation into the Claimed

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                                      Loss, Insurer's processing of Insured's claim (including adjustment,
                                      evaluation, and handling), or Insurers claim decision.

                                h.    The complete underwriting file maintained by the Insurer relating to
                                      the Property, its conditions, or coverage.

                                      Proofs of !oss for the Claimed Loss.

                                      If there has been an appraisal under the Policy, all documents
                                      relating to the appraisal process.

                                k.    Any manuals, policies, directives, guidelines, instructions (whether
                                      written, electronic, or otherwise), literature, or similar written
                                      materials that would pertain to the Claimed Loss, Hurricane or to
                                      similar types of claims, generally such that they would therefore be
                                      applicable to the Hurricane Case including the Insured's claim. This
                                      includes any document that Insurer relied upon, or intends to rely
                                      upon, pertaining to industry guidelines, standard practices, or
                                      recommended practices for adjusting first party claims.
                                                                                                                                                                                                co
                                                                                                                                                                                                co
                                      For non-NFIP Claims, written communications exchanged between                                                                                             co
                                                                                                                                                                                                id
                                      the Insured and Insurer that refer or relate to Insured's Claimed Loss,                                                                                   0
                                      Property, or damages, or otherwise relating to the Insured's claim.                                                                                       <
                                                                                                                                                                                                CL
                                                                                                                                                                                                <D

                                m.    Any other document(s) on which the Insurer relies to support its
                                      defenses.                                                                                                                                                 o
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                                                                                                                                                                                                CO
                     DONE AND SIGNED this 29th day of December, 2021, at Gretna, Jefferson Parish,                                                                                              LU
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            Louisiana.
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                 ________ X,—T2:Y                  : :c_____                                                           .. —........... —
             Judge Rayrnodp’S. Steib, Jr./Div. “A”                                          Jbdge Nancy          Milder, Div. “I”                                                               CD
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            ......._____________________________                                        • “ ■::   **      S?-—J- • •/.                       ............. ........
              Judge R. Christopher Cox III, Div, “B”                                        Judge Stephen G. Grefer, Div. “J"                                                                   o
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             Judge JGnejBerry Darensburg, D'ly. "C"            Chi^f Judge Ellen Shirer Kovach, Diy. “K"                                                                                        TJ
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                                        .....                                               |<j. f.. K. ...............                                                                         r—
                                                                                                                                                                                                o
                                                                                            Judge Donald A. Rowan, Jr., Div. “L”                                                           M


                                      Ec,
             Judge Scott U. Schlegel, Div. ‘D”                                                                                                                                                  or
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                                                                                                                                                                                                CL



            ^ud,g^ Fr^nk TV Brindisi, Div. '‘E"
                                                                                                  oXXXX.. "
                                                                                            Judge Shayna Beeve^^orvant, Div. “M”
                                                                                                                                                                                                UJ
                                                                                                                                                                                                “D

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       /■                                           .............................




      C"-'"Judge Michael FT ivien^Diy. |F"                                                  Judge^tephen D. Enright, Jr, Div. "hi’
                                                                                                                                                                                                o
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                 ziW //<             / Lz /                                                                       •               .4,                //
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                                     ‘ L._____                                      „                                        ..... ........................................................ .
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             JMge E. Adrian Adams, Div. “G"                                                 Judge Cornelius E. Regan, pm tempore,                                                               LU
                                                                                        _Piy#P”                          ,                                                                      Li
            ■v       /"■' x__                                                                                                                                                                   LU


             Judge Donald ’‘Chick" Foret, Div. "H”                                         Judgs Lefe'V'Faulkner, Jr., Div. “P”




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                                                                                              JEFFERSON PARISH LA




                         24th JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                                        STATE OF LOUISIANA


                                                 IN RE: HURRICANE IDA CLAIMS

                                    INTERIM PROTECTIVE ORDER REGARDING
                         CERTAIN PROPERTY DAMAGES SUITS ARISING FROM HURRICANE IDA


                           The Disaster Discovery Protocols for First-Party Insurance Property Damage

                Cases for all cases involving first-party insurance property damage claims arising from

                Hurricane Ida ("Hurricane Cases") are designed to achieve more efficient and targeted

                discovery. Prompt entry of a protective order will allow the parties to begin exchanging                             CD
                                                                                                                                     co
                                                                                                                                     CD
                                                                                                                                     LU
                documents and information without delay. This Interim Protective Order will remain in                                0
                                                                                                                                     <
                                                                                                                                     Q-
                place until the parties agree to, or the Court orders, a different protective order, but absent                      CD
                                                                                                                                     CD
                                                                                                                                     CD


                agreement or court order, the Interim Protective Order will not apply to discovery                                   *
                                                                                                                                     o
                                                                                                                                     o
                                                                                                                                     CD
                conducted after the parties complete the Streamlined Settlement Program. The parties                                 LU
                                                                                                                                     0
                                                                                                                                     <
                                                                                                                                     0
                may agree to use the Interim Protective Order throughout litigation.
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                                                                                                                                     LD
                          IT IS HEREBY ORDERED that the following restrictions and procedures apply to                               CD
                                                                                                                                     Lf)
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                certain information, documents, and excerpts from documents and information the parties                              T—
                                                                                                                                     CM



                exchange in response to the Disaster Discovery Protocols:                                                            o
                                                                                                                                     o
                                                                                                                                     o’


                          1.      Any party may designate as “Confidential" any document, or information
                                                                                                                                     T5
                                  contained in or revealed in a document, provided in response to these                              CO
                                                                                                                                     LO
                                                                                                                                     O
                                  Protocols or, if applicable, in subsequent discovery, if the party determines,                     o
                                  in good faith, that the designation is necessary to protect the party.                             X.
                                                                                                                                     <
                                                                                                                                     Q.
                                  Information and documents a party designates as confidential will be
                                  stamped “CONFIDENTIAL." Confidential information or documents are                                  -:
                                  referred to collectively as “Confidential Information.”                                            <

                          2.      Unless the court orders otherwise, the Confidential Information disclosed
                                                                                                                                     CN
                                                                                                                                     O
                                  will be held and may be used by any person receiving the information solely                        CN
                                                                                                                                     CD
                                                                                                                                     CM
                                  in this litigation.                                                                                CM
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                                                            Hurricane Ida Litigation
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                          3.       If a party challenges another party’s Confidential Information designation,
                                   counsel must make a good-faith effort to resolve the dispute. If that is
                                   unsuccessful, the challenging party may seek resolution by the Court.
                                   Nothing in this Interim Protective Order is an admission by any party that
                                   Confidential Information disclosed in this case is relevant or admissible.
                                   Each party specifically reserves the right to object to the use or admissibility
                                   of all Confidential Information disclosed, in accordance with applicable law
                                   and court rules.

                          4.       Information or documents designated as “Confidential’’ must not be
                                   disclosed to any person, except:

                                      a. the requesting party and counsel, including in-house or agency
                                                                                                                      CD
                                           counsel;                                                                   co
                                                                                                                      (.o
                                                                                                                      LU
                                                                                                                      0
                                      b. employees of counsel assigned to and necessary to assist in the              <
                                                                                                                      Q.
                                           litigation;
                                                                                                                      5
                                                                                                                      *
                                      c. consultants or experts assisting in the prosecution or defense of the        o
                                                                                                                      o
                                                                                                                      CQ
                                           litigation, to the extent deemed necessary by counsel;                     LU
                                                                                                                      o
                                                                                                                      <
                                      d. any person from whom testimony is taken or is to be taken in this            0
                                                                                                                      (Z
                                           litigation, but that person may be shown the Confidential Information      o
                                                                                                                      m
                                           only in preparation for, and during, the testimony and may not retain      CD
                                                                                                                      m
                                                                                                                      o
                                           the Confidential Information;                                              CN


                                      e. The judge, the court staff, including the clerk, case manager, court         o
                                                                                                                      o
                                                                                                                      o
                                           reporter, or other person with access to Confidential Information by
                                                                                                                      •O
                                           virtue of his or her position with the court, or the jury; and             >cn
                                                                                                                      T3
                                                                                                                      co

                                      f.   The Special Master, Deputy Special Master, and any mediator                g
                                                                                                                      LO

                                                                                                                      T—
                                                                                                                      o
                                           involved in resolving the case, who shall all be subject to these
                                                                                                                      or
                                           confidentiality provisions.                                                <
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                                                                                                                      Li.
                                                                                                                      LL
                                                                                                                      LU
                         5.       Before disclosing or displaying Confidential Information to any person, a
                                  party must:                                                                         <

                                      a. inform the person of the confidential nature of the information and
                                                                                                                      CN
                                                                                                                      O
                                           documents; and
                                                                                                                      <T)
                                                                                                                      CM
                                                                                                                      CN
                                      b. inform the person that the court has enjoined the use of the                 T—

                                                                                                                      LU
                                           information or documents for any purpose other than this litigation        LL.
                                                                                                                      LU
                                           and has enjoined the disclosure of that information or documents to
                                           any other person.



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                        6.       The Confidential Information may be displayed to and discussed with the
                                 persons identified in Paragraphs 4(c) and (d) only on the condition that
                                 before any such display or discussion, each person must be asked to sign
                                 an agreement to be bound by this Order in the form detailed in Section 6(a),
                                 infra.

                                 6(a). The Confidentiality Agreement shall read as follows:

                                          I have been informed by counsel that certain documents or
                                          information to be disclosed to me in connection with the matter
                                          entitled [CASE CAPTION] have been designated as
                                          confidential. I have been informed that any of the documents
                                          or information labeled “CONFIDENTIAL” are confidential by
                                          Order of the Court.

                                          I hereby agree that I will not disclose any information
                                                                                                                   CD
                                          contained in the documents to any other person. I further                CO

                                          agree not to use this information for any purpose other than             LU
                                                                                                                   0
                                          this litigation.                                                         <
                                                                                                                   Q.
                                                                                                                   CD
                                                                              DATED:                               CD
                                                                                                                   O
                                          Signature of [NAME]                                                      Tf
                                                                                                                   *
                                                                                                                   o
                                                                                                                   o
                                                                                                                   CQ
                                                                                                                   LU
                                                                             DATED:                                0
                                                                                                                   <
                                          Signature of Counsel                                                     0
                                                                                                                   a:
                                                                                                                   o
                                                                                                                   m
                                 6(b). If the person refuses to sign an agreement in the form attached, the        CD
                                                                                                                   m
                                                                                                                   o
                                          party seeking to disclose the Confidential Information may seek relief   T—
                                                                                                                   CN
                                          from the court.
                                                                                                                   o
                                                                                                                   o
                       7.       The disclosure of a document or information without designating it as              o’

                                                                                                                   ■O

                                “Confidential Information” does not waive the right to designate the               '>
                                                                                                                    ra
                                                                                                                   TD
                                document or information as Confidential Information if the document or             co
                                                                                                                   m
                                                                                                                   o
                                information is designated under this Order.                                        r—
                                                                                                                   O

                                                                                                                   tr
                       8.       Documents or information filed with the court that is subject to confidential      <
                                                                                                                   a.
                                                                                                                   LL
                                treatment under this Order, and any pleadings, motions, or other papers            LU
                                                                                                                   ”3

                                filed with the court disclosing any Confidential Information, must be filed
                                                                                                                   <
                                under seal to the extent permitted by the law, rules, or court orders, and
                                must be kept under seal until the court orders otherwise. To the extent the
                                                                                                                   Of
                                                                                                                   o
                                court requires any further act by the parties as a precondition to filing the      CN

                                                                                                                   cn
                                documents or information under seal, the party filing the document or              CM
                                                                                                                   —
                                information is responsible for satisfying the requirements. If possible, only      LU
                                                                                                                   -J
                                                                                                                   LL
                                the confidential parts of documents of information filed with the court will be    LU

                                filed under seal.



                                          Interim Protective Order for Disaster Discovery Protocols

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                              9.          At the conclusion of this litigation, the Confidential Information and any
                                          copies must be promptly (and in no event later than 60 days after entry of
                                          final judgment no longer subject to appeal) returned to the producing party
                                          or certified as destroyed, except that the parties’ counsel may retain their
                                          working files on the condition that those files will remain confidential.
                                          Materials filed in the court will remain in the file unless the court orders their
                                          return.

                              10.         Producing documents or information, including Confidential Information, in
                                         this litigation does not waive attorney-client privilege or work-product
                                         protection for the documents or information.

                             This Order does not diminish the right of any party to apply to the Court for a
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               different or additional Protective Order relating to Confidential Information, to object to the                                                               «D
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               production of documents or information, to apply to the court for an order compelling                                                                         <
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               production of documents or information, or to modify this Order. Any party may seek                                                                           'Tt


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               enforcement of this Order.                                                                                                                                    o
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                            DONE AND SIGNED this 29th day of December, 2021, at Gretna Jefferson Parish,                                                                     <
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               'Judge'Frank A. Brindisi, Div. "E1'                                               Judg^Shayna Bee^er.^'Morvant.„piv. "M '
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             ...z'Judg^lMi^h^el P. Men^pX-X'                                                     Judge Stephen D. Enright, Jr., Div. “N"                                     CN
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               Judge E. Adrian Adams, Div. "G"                                                   Judge Cornelius E. Regan, pro tefipore.
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                                                      Interim Protective Order for Disaster Discovery Protocols
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